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                     EXHIBIT E
                                                                   AMERICAN                               Rebecca Markovits
                                                                   SHORT FICT1DI <rebecca.markovits@americanshortfiction.org>
                                                                   BASS
                                                                   5 messages
                                                                   Sonya Larson                          Mon, Mar 5, 2018 at 8:41
                                                                   <sonya@grubstreet.org>                                     AM
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 2 of 18




                                                                   To: Adeena Reitberger
                                                                   <adeena.reitberger@americanshortfiction.org>, Rebecca
                                                                   Markovits <rebecca.markovits@americanshortfiction.org>
                                                                    Dear Rebecca and Adeena,
                                                                    Hello, and I hope you're well. I'm writing because Heidi Pitlor of
                                                                    BASS just contacted me, saying that she'd heard I had a story
                                                                    in ASF last year and was on the lookout for it, but that ASF
                                                                    never sent her anything.
                                                                    I don't want to surmise the reasons or anything, and I'm sure
                                                                    you're very busy, but I did want to check in and make sure that
                                                                    that info is correct. I know that ASF often has stories in BASS,
                                                                    and it crushes me a little that mine could have been in the 2018
                                                                    edition.
                                                                    Cheers,
                                                                    Sonya
                                                                    Sonya Larson
                                                                    Director of Muse Conference and Advocacy
                                                                    In office Monday-Friday, 11:00am-6:00pm. I check email starting at
                                                                    1:00pm.
                                                                                                                                   ASF0436
                                                                    □
                                                                   Grub Street
                                                                   162 Boylston Street, 5th Floor
                                                                   Boston, MA 02116
                                                                   grubstreet.org | 617.695.0075
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 3 of 18




                                                                   TW: @GrubWriters | FB: GrubStreetWriters
                                                                   Rebecca Markovits                            Mon, Mar 5, 2018
                                                                   <rebecca.markovits@americanshortfiction.org>       at 9:28 AM
                                                                   To: Sonya Larson <sonya@grubstreet.org>
                                                                   Cc: Adeena Reitberger
                                                                   <adeena.reitberger@americanshortfiction.org>
                                                                    Hi Sonya!
                                                                    Oh no! We always send them comps, every year-they're on
                                                                    our automatic list--and none's ever gone missing before. We've
                                                                    emailed Heidi directly and explained and sent her a pdf with
                                                                    your story.
                                                                    Fingers crossed.
                                                                    Rebecca
                                                                    On Mon, Mar 5, 2018 at 8:41 AM, Sonya Larson
                                                                    <sonya@gnjbstreet.org> wrote:
                                                                      Dear Rebecca and Adeena,
                                                                        Hello, and I hope you're well. I'm writing because Heidi Pitlor
                                                                        of BASS just contacted me, saying that she'd heard I had a
                                                                                                                              ASF0437
                                                                    story in ASF last year and was on the lookout for it, but that
                                                                    ASF never sent her anything.
                                                                    I don't want to surmise the reasons or anything, and I'm sure
                                                                    you're very busy, but I did want to check in and make sure
                                                                    that that info is correct. I know that ASF often has stories in
                                                                    BASS, and it crushes me a little that mine could have been in
                                                                    the 2018 edition.
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 4 of 18




                                                                    Cheers,
                                                                    Sonya
                                                                    Sonya Larson
                                                                    Director of Muse Conference and Advocacy
                                                                    In office Monday-Friday, 11:00am-6:00pm. I check email starting at
                                                                    1:00pm.
                                                                   ! E
                                                                    Grub Street
                                                                    162 Boylston Street, 5th Floor
                                                                    Boston, MA 02116
                                                                    grubstreet.org | 617.695.0075
                                                                    TW: @ Grub Writers | FB: GrubStreetWriters
                                                                                                                                 ASF0438
                                                                   Rebecca Markovits
                                                                   Co-Editor | American Short Fiction
                                                                    P.O. Box 4152 | Austin, TX 78765
                                                                   www.americanshortfiction.org
                                                                   Sonya Larson                         Mon, Mar 5, 2018 at 10:49
                                                                   <sonya@grubstreetorg>                                      AM
                                                                   To: Rebecca Markovits
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 5 of 18




                                                                   <rebecca.markovits@americanshortfiction.org>
                                                                   Cc: Adeena Reitberger
                                                                   <adeena.reitberger@americanshortfiction.org>
                                                                    Dear Rebecca,
                                                                    Thank you so much for your speedy reply. Heidi just called me,
                                                                    and says that she never received any issues, and unfortunately
                                                                    it's too late in the process to consider it now. Perhaps it's
                                                                    because Houghton Mifflin Harcourt changed addresses, but
                                                                    regardless, she was very apologetic, and wants to make
                                                                    everyone aware of the situation.
                                                                    The main thing I care about is readership; I know that that ASF
                                                                    issue sold out, and as a result people have contacted me to get
                                                                    a Word doc version of the story. You may not do this sort of
                                                                    thing, but is there any way to make the story available online? I
                                                                    just want the story to be available for people who want to read
                                                                    it!
                                                                    Thank you for considering this, and for all that you do,
                                                                    Sonya
                                                                    Sonya Larson
                                                                    Director of Muse Conference and Advocacy                   ASF0439
                                                                   In office Monday-Friday, 11:00am-6:00pnn. I check email starting at
                                                                   1:00pm.
                                                                   Q
                                                                   Grub Street
                                                                   162 Boylston Street, 5th Floor
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 6 of 18




                                                                   Boston, MA 02116
                                                                   grubstreet.org | 617.695.0075
                                                                   TW: @GrubWriters | FB: GrubStreetWriters
                                                                   On Mon, Mar 5, 2018 at 10:28 AM, Rebecca Markovits
                                                                   <rebecca.markovits@americanshortfiction.org> wrote:
                                                                    i Hi Sonya!
                                                                      Oh no! We always send them comps, every year--they're on
                                                                      our automatic list--and none's ever gone missing before.
                                                                      We've emailed Heidi directly and explained and sent her a
                                                                      pdf with your story.
                                                                       Fingers crossed.
                                                                       Rebecca
                                                                       On Mon, Mar 5, 2018 at 8:41 AM, Sonya Larson
                                                                       <sonya@grubstreet.org> wrote:
                                                                         Dear Rebecca and Adeena,
                                                                         Hello, and I hope you're well. I'm writing because Heidi
                                                                         Pitlor of BASS just contacted me, saying that she'd heard I
                                                                                                                                    ASF0440
                                                                        had a story in ASF last year and was on the lookout for it,
                                                                        but that ASF never sent her anything.
                                                                         I don't want to surmise the reasons or anything, and I'm
                                                                         sure you're very busy, but I did want to check in and make
                                                                   !   | sure that that info is correct. I know that ASF often has
                                                                         stories in BASS, and it crushes me a little that mine could
                                                                         have been in the 2018 edition.
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                                                                        Cheers,
                                                                        Sonya
                                                                        Sonya Larson
                                                                        Director of Muse Conference and Advocacy
                                                                        In office Monday-Friday, 11:00am-6:00pm. I check email starting at
                                                                        1:00pm.
                                                                        D
                                                                        Grub Street
                                                                        162 Boylston Street, 5th Floor
                                                                        Boston, MA 02116
                                                                        grubstreet.org | 617.695.0075
                                                                        TW: @ Grub Writers | FB: GrubStreetWriters
                                                                                                                                  ASF0441
                                                                      Rebecca Markovits
                                                                      Co-Editor | American Short Fiction
                                                                      P.O. Box 4152 | Austin, TX 78765
                                                                      www.americanshortfiction.org
                                                                   Rebecca Markovits                             Mon, Mar 5, 2018
                                                                   <rebecca.nnarkovits@americanshortfiction.org>       at 2:46 PM
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 8 of 18




                                                                   To: Sonya Larson <sonya@grubstreet.org>
                                                                   Cc: Adeena Reitberger
                                                                   <adeena.reitberger@americanshortfiction.org>
                                                                    Hey Sonya,
                                                                    Of course that must be exactly what happened. We hadn't
                                                                    known they'd moved (until Heidi just told us). But Heidi said
                                                                    that they'd been receiving the forwarded mail from their old
                                                                    address, and we sent it to that address back in July! No idea
                                                                    why it didn't find them (especially as I believe our bulk-mailing
                                                                    service double-checks addresses for us too). So frustrating!
                                                                    Not just for you, of course, but I feel for all the authors in that
                                                                    issue (and for ourselves/the magazine too, of course).
                                                                    Needless to say, we've updated our address for BASS now. At
                                                                    least there are still the other anthologies to hope for.
                                                                    As for your question about publishing online...we don't usually
                                                                    publish print stories online unless they're super short and fit
                                                                    into our online flash series--the print magazine is very much its
                                                                    own thing--but it's a nice idea, especially with the issue sold
                                                                    out. We were brainstorming a place to fit it on our website as
                                                                    an exception-it would be nice to have a token reason to post it,
                                                                    given that we don't plan on publishing other stories from the
                                                                    print magazine online. Two things that came up: April is
                                                                    National Donate Life month, to draw attention to organ ASF0442
                                                                   donation. We could publish as a nod to that (unless you think
                                                                   the picture of organ donation that the story offers, while totally
                                                                   convincing and fresh, is a bit bleak for that context? I think it's
                                                                   fine). Alternately, May 25 was Raymond Carver's birthday, and
                                                                   we always talked about how much your story, in some ways,
                                                                   reminded us of "Cathedral," so it might be fun to publish it then.
                                                                   But we're totally open to other suggestions of hooks to hang
                                                                   this on, because we'd love to get it up online. Thoughts?
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                                                                   Ideas?
                                                                   Sorry again about the issue mailing snafu!!
                                                                   Warmly,
                                                                   Rebecca
                                                                   On Mon, Mar 5, 2018 at 10:49 AM, Sonya Larson
                                                                   <sonya@grubstreet.org> wrote:
                                                                     Dear Rebecca,
                                                                     Thank you so much for your speedy reply. Heidi just called
                                                                     me, and says that she never received any issues, and
                                                                     unfortunately it's too late in the process to consider it now.
                                                                     Perhaps it's because Houghton Mifflin Harcourt changed
                                                                     addresses, but regardless, she was very apologetic, and
                                                                     wants to make everyone aware of the situation.
                                                                     The main thing I care about is readership; I know that that
                                                                     ASF issue sold out, and as a result people have contacted
                                                                     me to get a Word doc version of the story. You may not do
                                                                     this sort of thing, but is there any way to make the story
                                                                                                                            ASF0443
                                                                    available online? I just want the story to be available for
                                                                    people who want to read it!
                                                                    Thank you for considering this, and for all that you do,
                                                                    Sonya
                                                                    Sonya Larson
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 10 of 18




                                                                    Director of Muse Conference and Advocacy
                                                                    In office Monday-Friday, 11:00am-6:00pm. I check email starting at
                                                                    1:00pm.
                                                                    Grub Street
                                                                    162 Boylston Street, 5th Floor
                                                                    Boston, MA 02116
                                                                    grubstreet.org | 617.695.0075
                                                                    TW: @GrubWriters | FB: GrubStreetWriters
                                                                    On Mon, Mar 5, 2018 at 10:28 AM, Rebecca Markovits
                                                                    <rebecca.markovits@americanshortfiction.org> wrote:
                                                                      Hi Sonya!
                                                                      Oh no! We always send them comps, every year-they're
                                                                      on our automatic list--and none's ever gone missing
                                                                      before. We've emailed Heidi directly and explained and
                                                                      sent her a pdf with your story.
                                                                      Fingers crossed.
                                                                                                                                 ASF0444
                                                                     Rebecca
                                                                    I On Mon, Mar 5, 2018 at 8:41 AM, Sonya Larson
                                                                      <sonya@grubstreet.org> wrote:
                                                                        Dear Rebecca and Adeena,
                                                                       Hello, and I hope you're well. I'm writing because Heidi
                                                                       Pitlor of BASS just contacted me, saying that she'd
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                                                                       heard I had a story in ASF last year and was on the
                                                                       lookout for it, but that ASF never sent her anything.
                                                                      i I don't want to surmise the reasons or anything, and I'm
                                                                        sure you're very busy, but I did want to check in and
                                                                        make sure that that info is correct. I know that ASF often
                                                                        has stories in BASS, and it crushes me a little that mine
                                                                        could have been in the 2018 edition.
                                                                       Cheers,
                                                                       Sonya
                                                                       Sonya Larson
                                                                       Director of Muse Conference and Advocacy
                                                                       In office Monday-Friday, 11:00am-6:00pm. I check email starting at
                                                                       1:00pm.
                                                                       □
                                                                       Grub Street
                                                                       162 Boylston Street, 5th Floor
                                                                       Boston, MA 02116
                                                                                                                               ASF0445
                                                                                grubstreet.org | 617.695.0075
                                                                     ■
                                                                                TW: @GrubWriters | FB: GrubStreetWriters
                                                                            Rebecca Markovits
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 12 of 18




                                                                            Co-Editor | American Short Fiction
                                                                            P.O. Box 4152 | Austin, TX 78765
                                                                            www.americanshortfiction.org
                                                                    Rebecca Markovits
                                                                    Co-Editor | American Short Fiction
                                                                    P.O. Box 4152 | Austin, TX 78765
                                                                    www.americanshortfiction.org
                                                                    Sonya Larson                           Tue, Mar 6, 2018 at 4:10
                                                                    <sonya@grubstreet.org>                                      PM
                                                                    To: Rebecca Markovits
                                                                    <rebecca.markovits@americanshortfiction.org>
                                                                    Cc: Adeena Reitberger
                                                                    <adeena.reitberger@americanshortfiction.org>
                                                                     Dear Rebecca,
                                                                     Thank you so much for this kind email; I do feel so sadly for
                                                                     ASF and for all your authors published this year-- what an
                                                                     unfortunate and consequential glitch! Ugh.
                                                                                                                            ASF0446
                                                                    But I deeply appreciate your offering to publish the piece
                                                                    online- it would be awesome to simply direct readers to the
                                                                    ASF website when they ask for the story. Thank you for the
                                                                    cool brainstorm, and of these options I think that publishing it
                                                                    on Raymond Carver's birthday would be so great, since it does
                                                                    mirror "Cathedral's" structure in many ways. The narrator is
                                                                    deeply conflicted about her organ donor, so that option
                                                                    probably wouldn't work as well.
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                                                                    Thank you again for offering this- I am so glad that the story
                                                                    can have continued life! Let me know if you need any further
                                                                    info from me!
                                                                    Sincerely,
                                                                    Sonya
                                                                    Sonya Larson
                                                                    Director of Muse Conference and Advocacy
                                                                    In office Monday-Friday, 11:00am-6:00pm. I check email starting at
                                                                    1:00pm.
                                                                    K
                                                                    Grub Street
                                                                    162 Boylston Street, 5th Floor
                                                                    Boston, MA 02116
                                                                    grubstreet.org | 617.695.0075
                                                                    TW: @GrubWriters | FB: GrubStreetWriters
                                                                                                                                    ASF0447
                                                                    On Mon, Mar 5, 2018 at 3:46 PM, Rebecca Markovits
                                                                    <rebecca.markovits@americanshortfiction.org> wrote:
                                                                      Hey Sonya,
                                                                      Of course that must be exactly what happened. We hadn't
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                                                                      why it didn't find them (especially as I believe our bulk­
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                                                                      might be fun to publish it then. But we're totally open to other
                                                                      suggestions of hooks to hang this on, because we'd love to
                                                                                                                             ASF0448
                                                                    get it up online. Thoughts? Ideas?
                                                                    Sorry again about the issue mailing snafu!!
                                                                    Warmly,
                                                                    Rebecca
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 15 of 18




                                                                    On Mon, Mar 5, 2018 at 10:49 AM, Sonya Larson
                                                                    <sonya@grubstreet.org> wrote:
                                                                      Dear Rebecca,
                                                                      Thank you so much for your speedy reply. Heidi just called
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                                                                      Thank you for considering this, and for all that you do,
                                                                      Sonya
                                                                      Sonya Larson
                                                                      Director of Muse Conference and Advocacy
                                                                                                                           ASF0449
                                                                    In office Monday-Friday, 11:00am-6:00pm. I check email starting at
                                                                    1:00pm.
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                                                                    Grub Street
                                                                    162 Boylston Street, 5th Floor
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 16 of 18




                                                                    Boston, MA 02116
                                                                    grubstreet.org | 617.695.0075
                                                                    TW: @GrubWriters | FB: GrubStreetWriters
                                                                    On Mon, Mar 5, 2018 at 10:28 AM, Rebecca Markovits
                                                                    <rebecca.markovits@americanshortfiction.org> wrote:
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                                                                         Fingers crossed.
                                                                         Rebecca
                                                                         On Mon, Mar 5, 2018 at 8:41 AM, Sonya Larson
                                                                         <sonya@grubstreet.org> wrote:
                                                                           Dear Rebecca and Adeena,
                                                                           Hello, and I hope you're well. I'm writing because Heidi
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                                                                                                                               ASF0450
                                                                        i
                                                                                    heard I had a story in ASF last year and was on the
                                                                                    lookout for it, but that ASF never sent her anything.
                                                                                 I don't want to surmise the reasons or anything, and
                                                                            :
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Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 17 of 18




                                                                                    Cheers      5
                                                                                    Sonya
                                                                            ;
                                                                                    Sonya Larson
                                                                                    Director of Muse Conference and Advocacy
                                                                                    In office Monday-Friday, 11:00am-6:00pm. I check email starting
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                                                                                        Grub Street
                                                                                        162 Boylston Street, 5th Floor
                                                                                        Boston, MA 02116
                                                                                        grubstreet.org | 617.695.0075
                                                                                        TW: @GrubWriters | FB: GrubStreetWriters
                                                                                                                                         ASF0451
                                                                            Rebecca Markovits
                                                                            Co-Editor | American Short Fiction
                                                                            P.O. Box 4152 | Austin, TX 78765
                                                                            www.americanshortfiction.org
Case 1:19-cv-10203-IT Document 194-5 Filed 12/23/22 Page 18 of 18




                                                                    Rebecca Markovits
                                                                    Co-Editor | American Short Fiction
                                                                    RO. Box 4152 | Austin, TX 78765
                                                                    www.americanshortfiction.org
                                                                                                                 ASF0452
